           Case 2:17-cr-00395-JCM-NJK          Document 54        Filed 06/18/18      Page 1 of 2




     THOMAS A. ERICSSON, ESQ.
 1   Nevada Bar No. 4982
 2   Oronoz & Ericsson, LLC
     1050 Indigo Drive, Suite 120
 3   Las Vegas, Nevada 89145
     Telephone: (702) 878-2889
 4   Facsimile: (702) 522-1542
     tom@oronozlawyers.com
 5
     Attorney for Wendy Flores-Ramirez
 6
 7                               UNITED STATES DISTRICT COURT

 8                                     DISTRICT OF NEVADA
 9
                                                    )
10                                                  )
                                                    )
     UNITED STATES OF AMERICA,                      )   CASE NO: 2:17-CR-0395-JCM-NJK
11
                Plaintiff,                          )
12                                                  )   STIPULATION AND ORDER FOR
                                                    )   MODIFICATION OF PRETRIAL
                    vs.                             )   RELEASE CONDITIONS
13                                                  )
14   WENDY FLORES-RAMIREZ,                          )
                                                    )
15                 Defendant.                       )
                                                    )
16                                                  )
                                                    )
17                                                  )

18
            IT IS HEREBY STIPULATED AND AGREED, by and between BRANDON
19
     JAROCH, Assistant United States Attorney, and THOMAS A. ERICSSON, ESQ., counsel
20
     for WENDY FLORES-RAMIREZ, that the conditions of Ms. Flores-Ramirez’ pretrial
21
     release be modified pursuant to the conditions provided in this agreement.
22
            The parties agree that Ms. Flores-Ramirez’ pretrial release be modified according to
23   the following conditions:
24
            1.     Ms. Flores-Ramirez was previously placed on Curfew with Radio Frequency
25                 (RF) Monitoring as a condition of pretrial release. The parties stipulate that this
26                 requirement should be removed.

27   ///
28   ///


                                                    1
         Case 2:17-cr-00395-JCM-NJK         Document 54       Filed 06/18/18    Page 2 of 2



            2.     Defense Counsel for Ms. Flores-Ramirez has spoken with Pretrial Services, and
 1                 Pretrial Services does not oppose this request.
 2          3.     Defense Counsel for Ms. Flores-Ramirez has spoken with AUSA Brandon
                   Jaroch, and the Government does not oppose this request.
 3
 4
     DATED: May 24, 2018
 5
 6
     Respectfully submitted,
 7
 8
     /s/ Thomas A. Ericsson                            /s/ Brandon Jaroch                  n
 9   THOMAS A. ERICSSON, ESQ.                         BRANDON JAROCH, ESQ.
     1050 Indigo Drive, Suite 120                     501 Las Vegas Boulevard, South,
10   Las Vegas, Nevada 89145                          Suite 1100
     Counsel for Wendy Flores-Ramirez                 Las Vegas, Nevada 89101
11
                                                      Counsel for the United States of America
12
13                                             IT IS SO ORDERED.
14
                                              ________________________________________
15                                              UNITED STATES MAGISTRATE JUDGE
16
17                                             DATED this 18th day of June, 2018.

18
19
20
21
22
23
24
25
26
27
28


                                                 2
